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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
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                                         Norfolk Division                              NORFOLK VA



ANTHONY EDWARD ZELLNER,

                       Petitioner,
V.                                                            CRIMINAL NO. 2:99-cr-164

UNITED STATES OF AMERICA,

                       Respondent.


                           MEMORANDUM OPINION AND ORDER


       On August 10,2020, Petitioner Anthony Edward Zellner("Petitioner")submitted a Motion

for Reconsideration of Petitioner's Motion for Compassionate Release under 18 U.S.C. §

3582(c)(1)(A) due to threats imposed by the ongoing COVID-19 pandemic. ECF No. 95. The

Court denied Petitioner's Motion for Compassionate Release on July 7, 2020. ECF No. 91. For

the reasons set forth below, Petitioner's Motion for Reconsideration of his request for

compassionate release under 18 U.S.C. § 3582(c)(1)(A) is GRANTED.

                        I. FACTUAL AND PROCEDURAL HISTORY


       On June 19, 1997, Petitioner and two co-conspirators stole a minivan from two individuals

who were attempting to buy crack cocaine from them. Later that day, Petitioner and the two co-

conspirators used the vehicle as a get-away-car after burglarizing the home of a drug dealer. The

drug dealer escaped during the burglary; however, Petitioner and his co-conspirators kidnapped

the drug dealer's girlfriend, took two kilograms of the drug dealer's cocaine, and stole a substantial

sum of cash and a car. After the burglary, Petitioner was dropped off at his home in Norfolk and

his co-conspirators drove away in the minivan with the kidnapped woman inside. Three days later,
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she was found dead in the back of the abandoned minivan. Although Petitioner did take part in the

woman's kidnapping, Petitioner was not involved in the woman's homicide.

       On October 19, 1999, Petitioner pleaded guilty to Count 1 of the Criminal Information

charging him with Conspiracy to Possess with the Intent to Distribute Cocaine, in violation of 21

U.S.C. §§ 846,841(a). ECF No. 3. On February 3,2000,Petitioner was sentenced to a term of384

months imprisonment. ECF No. 8. As of the date of this filing. Petitioner has served over 21 years

and 7 months toward his sentence. ECF No. 86.

       Petitioner filed his pro se letter motion on April 13, 2020 and requested the appointment

of counsel on April 29, 2020. ECF Nos. 76, 78. The Court ordered the appropriate responses on

May 1, 2020 and supplemented its order on May 8, 2020. ECF Nos. 79, 85. Petitioner, through

counsel, responded to the Court's orders by filing the Motion for Compassionate Release due to

the threats imposed by the ongoing COVID-19 pandemic. ECF No. 87. The Government

responded in opposition on June 3, 2020. ECF No. 89. Petitioner replied to the Government's

response on June 8, 2020. ECF No. 90.

       On July 7, 2020, the Court denied Petitioner's Motion for Compassionate Release. ECF

No. 91. In its Memorandum Opinion and Order, the Court stated:

       "The Court is unable to conclude that Petitioner is particularly vulnerable to
       COVID-19 based on his medical records, which do not provide enough information
       about his medical issues to show a heightened risk of severe illness or death."

Id. at 7. On August 9, 2020, Petitioner submitted Petitioner's Motion for Reconsideration and

filed an Amended Motion for Reconsideration on August 10, 2020. ECF Nos. 94, 95. Both the

original Motion and the amended version attach supplemental medical records detailing

Defendant's health issues related to chronic kidney disease and obesity. ECF No. 95-1. The
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government declined to respond to either the original Motion for Reconsideration or the Amended

Motion for Reconsideration. This matter is ripe for disposition.

                                    II. LEGAL STANDARD


A. Standard for Motions for Reconsideration

       Although motions for reconsideration are generally disfavored, the United States Court of

Appeals for the Fourth Circuit ("Fourth Circuit") recognizes three limited grounds for a district

court's grant of a motion for reconsideration: (1) to accommodate an intervening change in

controlling law;(2)to account for new evidence not available earlier; or(3)to correct a clear error

of law or prevent manifest injustice. Hutchinson v. Staton, 994 F.2d 1076, 1081 (4th Cir. 1993);

see also Pendergrass v. United States, 2001 U.S. Dist. LEXIS 23933, at *1-2(D.S.C. 2001). The

Fourth Circuit has emphasized that mere disagreement with the court's ruling does not warrant

reconsideration. Hutchinson, 994 F.2d at 1081 {QiXmg Atkins v. Marathon LeTorneau Co., 130

F.R.D. 625, 626 (S.D. Miss. 1990)). Instead, a motion for reconsideration exists for the purpose

of allowing "the court to reevaluate the basis for its decision." Keyes v. Natl R.R. Passenger

Corp., 766 F. Supp. 277, 280 (E.D. Pa. 1991). A motion for reconsideration is not a tool with

which an unsuccessful party may '"rehash' the same arguments and facts previously presented."

Id.; Pendergrass, 2001 U.S. Dist. LEXIS 23933, at *2.

B. The Exhaustion Requirement

       A district court may modify a petitioner's sentence "after the defendant has fully exhausted

all administrative rights to appeal a failure of the Bureau of Prisons("BOP")to bring a motion on

the defendant's behalf or the lapse of 30 days from the receipt of such a request by the warden of

the defendant's facility, whichever is earlier." 18 U.S.C.§ 3582(c)(1)(A). Accordingly, a petitioner

seeking compassionate release is generally required to exhaust his or her administrative remedies
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prior to bringing a motion before the district court. Id. Courts may; however, waive the exhaustion

requirement under exigent circumstances. Coleman v. United States^ 2020 WL 3039123, at *3-*4

(E.D. Va. June 4, 2020)(discussing the reasons "judicial waiver of the exhaustion requirement is

permissible in light of the extraordinary threat certain inmates face from COVID-19").

C.The Compassionate Release Standard

        As amended by the FIRST STEP Act, a court may modify a term of imprisonment on the

motion of the petitioner after considering the factors set forth in 18 U.S.C. § 3553(a) if

"extraordinary and compelling reasons warrant such a reduction." 18 U.S.C. § 3582(c)(l)(A)(i).

Such "extraordinary and compelling reasons" were previously defined by the United States

Sentencing Commission ("Sentencing Commission") in U.S.S.G. §IB 1.13, Application Note 1.

Before the passage of the FIRST STEP Act, the Sentencing Commission provided that a sentence

may be modified due to the petitioner's medical condition, age, or family circumstances and

further defined the limits under which a sentence reduction may be given under those justifications.

U.S.S.G.§1B1.13, n. 1 (A)-(C). The Sentencing Commission also provided a "catch-all provision"

that allowed for a sentence modification upon a showing of"extraordinary and compelling reason

other than, or in combination with, the reasons described in subdivisions(A)through (C)." Id. at

n. 1 (D). Use of the "catch-all provision" prior to the FIRST STEP Act was severely restricted

because it required approval from the Bureau of Prisons before an individual could petition the

district court for relief. Id.

        However, U.S.S.G. §IB 1.13 is now outdated following the passage of the FIRST STEP

Act, which allows individuals to petition the district court directly without clearance from the

Bureau of Prisons. As such, U.S.S.G. §1B1.13 is merely advisory and does not bind the Court's

application of § 3582(c)(1)(A). McCoy v. United States, 2020 WL 2738225, at *4(E.D. Va. May
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26,2020);     also United States v. Lisi, 2020 WL 881994, at *3(S.D.N.Y. Feb. 24,2020)("[T]he

Court may independently evaluate whether [petitioner] has raised an extraordinary and compelling

reason for compassionate release ... [but § IBl.lS's policy statement] remain[s] as helpful

guidance to courts...."); United States v. Fox, 2019 WL 3046086, at *3 (D. Me. July 11, 2019)

("[T]he Commission's existing policy statement provides helpful guidance on the factors that

support compassionate release, although it is not ultimately conclusive"). A petitioner's

rehabilitation standing alone does not provide sufficient grounds to warrant a sentence

modification. 28 U.S.C. § 994(t). In sum, the Court may consider a combination of factors,

including but not limited to those listed in U.S.S.G. §IB 1.13, in evaluating a petitioner's request

for a sentence modification under 18 U.S.C. § 3582(c)(l)(A)(i).

                                       III. DISCUSSION


A. Petitioner's Motion for Reconsideration

       The Court will grant Petitioner's Motion for Reconsideration for two reasons: (1) the

Motion attaches new evidence ofPetitioner's ailing health and severe illnesses, and(2)considering

the new evidence, it would be a manifest injustice not to reconsider the Court's prior ruling. See

Hutchinson, 994 F.2d at 1081. In Petitioner's Motion for Compassionate Release, Petitioner

discussed health challenges related to his gallbladder, gastrointestinal issues, and obesity. ECF

No. 87-1. The Court denied Petitioner's Motion for Compassionate Release due, in large part, to

the Court's finding that:

       "[t]here is no support for the contention that Petitioner is currently impacted by
       chronic gallbladder and gastrointestinal issues, diabetes, or obesity, as Petitioner
       had gallbladder removal surgery in 2017 and there is no documentation of
       Petitioner's diabetes or weight in the medical record submitted to the Court."

ECF No.91. Further, the Court noted that "Petitioner's medical records [we]re nearly three years

old" with no additional evidence to support Petitioner's alleged health conditions. Id.
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       As a supplement to Petitioner's previously submitted medical records, the new evidence

provides a detailed assessment ofPetitioner's failing health over the past three years. ECF No. 95-

1. According to the medical records, as of April 28, 2020 Petitioner suffers from chronic kidney

disease, hypertension, renal insufficiency, sarcoidosis, and he is pre-diabetic. Id. at 26. The

updated medical records shed new light upon Petitioner's underlying medical conditions and his

vulnerability to the ongoing COVID-19 pandemic. Therefore, the Court will reconsider

Petitioner's Motion for Compassionate Release.

B. The Exhaustion Issue


       This Court previously held that the exhaustion requirement within § 3582(c)(1)(A) may be

waived during the COVID-19 pandemic. See supra Part II.B; Coleman v. United States, 2020 WL

3039123, at *3-*4 (E.D. Va. June 4, 2020). Accordingly, the Court will waive the exhaustion

requirement due to the ongoing threats imposed by COVID-19. Alternatively, the Court finds that

Petitioner filed an administrative request for compassionate release with the Bureau of Prisons on

December 4, 2019 and was denied on January 9, 2020. ECF No. 76 at 26. Therefore, Petitioner

has satisfied the exhaustion requirement within § 3582(c)(1)(A) because Petitioner's

administrative request was denied by the Bureau of Prisons.

C. Resolution of the Defendant's Request for Compassionate Release

       In its consideration of the factors listed in 18 U.S.C. § 3553(a), the Court acknowledges

that Petitioner is 50 years old and suffers from chronic kidney disease, hypertension, renal

insufficiency, sarcoidosis, and he is pre-diabetic. While Petitioner's conduct and criminal history

have not changed, he is under extreme threat from a virus that may be fatal if he contracts it.

       The Court further considers the severity of the ongoing COVID-19 outbreak in federal

prisons. See e.g. Wilson v. Williams, 2020 WL 2542131, at *1-2 (N.D. Ohio May 19, 2020)
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(documenting the BOP's ineffective efforts to curtail the spread of the virus within FCI Elkton).

The Court is aware ofgrowing evidence ofthe BOP's mismanagement ofits vulnerable population

during the COVID-19 pandemic. See Wilson v. Williams^ 2020 WL 2542131, at *1-2(N.D. Ohio

May 19, 2020)(documenting the "unacceptable" percentage of positive tests at FCI Elkton and

BOP's "ineffective[ness]...at stopping the spread"). The Wilson court criticized the BOP for

having "made only minimal effort to get at-risk inmates out of harm's way." Id. at *2.

       Specific to each petitioner, the Court examines the Centers for Disease Control's("CDC")

list of risk factors for severe COVID-19 complications when assessing compassionate release

motions during the pandemic. United States v. Lewellen, 2020 WL 2615762, at *4(N.D. III. May

22, 2020). Upon review. Petitioner is particularly vulnerable to COVID-19 as the CDC lists

chronic kidney disease, obesity and diabetes as underlying conditions that "are at increased risk of

severe illness from COVID-19."' As previously mentioned. Petitioner is pre-diabetic and his

additional ailments include chronic kidney disease, hypertension, renal insufficiency, and

sarcoidosis. Accordingly, the Court finds that Petitioner presents extraordinary and compelling

reasons to modify his sentence because of the great risk that COVID-19 poses to a person with his

underlying health conditions.

       During the COVID-19 pandemic, federal courts across the country have held that

compassionate release is justified under similar circumstances. United States v. Woodard, 2020

WL 3528413 at *3 (E.D. Va. Jun. 26, 2020)("Because Petitioner is extremely vulnerable to

COVID-19,retaining him in prison... at the risk ofincreasing his exposure to a fatal viral infection

does not serve the § 3553(a) factors and implicates an extraordinary and compelling reason for



       'People with Certain Medical Conditions, CENTERS FOR DISEASE CONTROL AND PREVENTION (Aug. 14,
       2020), https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medicaI-
       conditions.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-
       ncov%2Fneed-extra-precautions%2Fgroups-at-higher-risk.html.
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release."); United States v. Zukerman,2020 WL 1659880, at *6(S.D.N.Y. Apr. 3,2020)(granting

compassionate release because "[w]hen the Court sentenced Zukerman, the Court did not intend

for that sentence to include incurring a great and unforeseen risk ofsevere illness or death brought

on by a global pandemic (internal quotation marks and citation omitted)); United States v. Colvin,

2020 WL 1613943, *4 (D. Conn. Apr. 2, 2020)(finding extraordinary and compelling reasons

where defendant has "diabetes, a serious medical condition which substantially increases her risk

of severe illness if she contracts COVID-19"(intemal quotation marks, citation, and alteration

omitted)); United States v. Rodriguez, 2020 WL 1627331, at *8 (E.D. Pa. Apr. 1, 2020)("In the

absence ofa deadly pandemic that is deadlier to those with Mr. Rodriguez's underlying conditions,

these conditions would not constitute 'extraordinary and compelling reasons.' It is the confluence

of COVID-19 and Mr. Rodriguez's health conditions that makes this circumstance extraordinary

and compelling." (citations omitted)); see also United States v. Jepsen, 2020 WL 1640232 (D.

Conn. Apr. I, 2020); United States v. Gonzalez, 2020 WL 1536155 (E.D. Wash. Mar. 31, 2020);

United States v. Muniz,2020 WL 1540325(S.D. Tex. Mar. 30,2020); United States v. Campagna,

2020 WL 1489829(S.D.N.Y. Mar. 27, 2020).

       Additionally, in its evaluation of the § 3553(a) factors, the Court also considers that

Petitioner is now 50 years old and has spent over 21 years in prison for conduct that took place

when Petitioner was 27 years old. ECF No. 86 at 2. The Court is aware of Petitioner's history of

minor incident reports at the BOP, though Petitioner disputes the factual context of many of the

reports. ECF No. 87-7. Petitioner has, however, participated in rehabilitative programming and

developed a significant work history while incarcerated. ECF Nos. 87-2,87-3, 87-7. Petitioner was

also married in 2016 and has four surviving children from previous relationships. ECF No. 86 at ^

30; ECF No. 87-7.



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       Although Petitioner's original sentence was lawfully imposed in accordance with the §

3553(a)factors, serious illness and the potential for an accelerated death was decidedly not among

the reasons for it. See Zukerman, 2020 WL 1659880, at *6 citing Rodriguez, 2020 WL 1627331,

at * 12("the Court did not intend for that sentence to include incurring a great and unforeseen risk

of severe illness or death brought on by a global pandemic"). The Court believes Petitioner's

conduct may be adequately addressed with a sentence of home confinement that diminishes his

risk of infection and protects the public without overlooking the serious nature of the offense at

issue. See 18 U.S.C. § 3553(a)(2)(A)-(C). Furthermore, Petitioner's sentence already includes a

five-year term of supervised release at the conclusion of his incarceration. Upon granting

Petitioner's Motion for Compassionate Release, Petitioner would still be subject to supervised

release and the Court would impose an added condition of home confinement. Accordingly, at the

conclusion of Petitioner's supervised release he will be 55 years old, having served over 21 years

in prison, plus 5 years in home confinement. Under the circumstances, this penalty is sufficient

but not greater than necessary for an individual who is in diminishing physical health and will not

have access to the facilities of his offense.


       Because Petitioner is extremely vulnerable to COVID-19, retaining him in prison simply

to serve a higher percentage of his sentence at the risk of increasing his exposure to a fatal viral

infection does not serve the § 3553(a) factors and implicates an extraordinary and compelling

reason for release. The Court FINDS that Petitioner's underlying health condition in the wake of

an ongoing COVID-19 pandemic present an extraordinary and compelling reason for relief from

Petitioner's original sentence.
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                                      IV. CONCLUSION


       For the foregoing reasons, Petitioner's Motion is GRANTED. Petitioner's sentence is

reduced to TIME SERVED. Upon release Petitioner shall be placed on supervised release as

previously ordered in his criminal judgment with a special condition ofsixty(60) months of home

confinement. The Bureau of Prisons SHALL place Petitioner in quarantine and release Petitioner

within fourteen (14)days of the date of this Order. Petitioner is DIRECTED to contact the United

States Probation Office within seventy-two (72) hours of his release.

       IT IS SO ORDERED.


Norfolk, Virginia
September / ,2020
                                                     Raymond Ailackson
                                                     United States District Judge




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